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                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

QUEEN JANATA                             §
MONTGOMERY-BEY,                          §
                                         §
             Plaintiff,                  §
                                         §
V.                                       §         No. 3:20-cv-3521-E
                                         §
SOUTHERN METHODIST                       §
UNIVERSITY,                              §
                                         §
             Defendant.                  §

          ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
     RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

       The United States Magistrate Judge made findings, conclusions, and a

recommendation in this case. No objections were filed. The District Court reviewed

the proposed findings, conclusions, and recommendation for plain error. Finding

none, the Court ACCEPTS the Findings, Conclusions, and Recommendation of the

United States Magistrate Judge.

       The Court therefore AWARDS Defendant Southern Methodist University

$9,823.10 in costs and actual expenses, including reasonable attorneys’ fees, under

28 U.S.C. § 1447(c).

       SO ORDERED this 4th day of October, 2021.




                                             ADA BROWN
                                             UNITED STATES DISTRICT JUDGE
